CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ l Of 8

UNITED STATES DISTRICT COURT

DISTRICT 0F C0L0RA1)0
SHELLY GEE, Case No. 1:17-cv-02963-WJM W W‘é “1”§;,~»
Plaintiff
V.

,_,&
. <z`* f USAA MJ SAVINGS BANK,
,..YFJ"W>`\ 155
ih ;§/ Defendant.

 

f SCHEDULING ORDER

 

1. DATE OF CONFERENCE
AND APPEARANCES OF COUNSEL
On March 1, 2018, Counsel for Plaintiff and Defendant conducted a telephonic
meet and confer pursuant to Fed. R. Civ. P 26 and D.C.COLO.LCi\/R 16.1 and 26.1(a).
Counsel for Plaintiff: G. Thomas Martin, III
Martin & Bontrager, APC
6464 W. Sunset Blvd., Ste. 960
Los Angeles, CA 90028
(323) 940-1700

CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ 2 018

Counsel for Defendant: David M. Krueger
Benesch, Friedlander, Coplan & Aronoff LLP
200 Public Square, Ste. 2300
Cleveland, OH 44114
(216 ) 363-4500

2. STATEMENT OF JURISDICTION

Plaintiff asserts that Jurisdiction of this Court arises under 47 U.S.C. 227 and
28 U.S.C. § 1337 and that Declaratory relief is available pursuant to 28 U.S.C. §§
2201 and 2202.
3. STATEMENT OF CLAIMS AND DEFENSES
a. Plaintiff: Plaintiff asserts that Defendant has engaged in conduct violative of
the Telephone Consurner Protection Act (“TCPA”), 47 U.S.C. § 227, etc.
Specifically, Plaintiff alleges that on or about August 30, 2017 Plaintiff requested that
Defendant cease placing any wrther autodialed collection calls to her personal cellular
telephone number ending in 8847. Plaintiff contends that in doing so, she revoked
any “Prior EXpress Consent” (as that term is defined by the TCPA) for Defendant to
place any further calls to her cellular telephone via an “Autornatic Telephone Dialing
System” (as defined by the TCPA). Despite this, Plaintiff alleges that Defendant
nonetheless continued to place its autodialed collection calls, via an Automatic
Telephone Dialing System, to Plaintiff s cellular telephone Well into December of
2017. In surn, Plaintiff believes Defendant placed over one hundred and fifty (150)
such calls 2017 in violation of the TCPA.

CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ 3 Of 8

b. Defendant: Defendant USAA Savings Bank (“USAA”), incorrectly
identified in the Complaint as USAA Federal Savings Bank, denies Plaintiffs
allegations USAA SB asserts that Plaintiff gave prior express consent for USAA SB
to call her and that Plaintiff did not revoke such consent under the TCPA. Further,
USAA SB denies that it used an artificial/prerecorded voices on any calls to Plaintiff,
and denies that the calls were made using an “automatic telephone dialing system”

under 47 U.s.C. § 227(3)(1).

4. UNDISPUTED FACTS

The following facts are undisputed:

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y\"1/ b. At times relevant, Plaintiff allegedly owed Defendant a
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sum of money, /§<

c. In an attempt to speak with Plaintiff and/or secure payment, Defendant
placed telephone calls to a telephone number ending in 8847.

Absent discovery, all other facts are currently disputed between the parties.

5. COMPUTATION OF DAMAGES
Plaintiff seeks damages as follows: a) $500.00 for each and every of
Defendant’s found violations of the TCPA which are found to be negligent in nature,
pursuant to 47 U.S.C. § 227(b)(3)(B); b) $1,500.00 for each and every of Defendant’s
found violations of the TCPA which are found to be knowing and/or willful in nature,
pursuant to 47 U.S.C. § 227(b)(3)(C); and c) Injunctive relief in'the form of an order
forbidding Defendant to call Plaintiffs cellular telephone utilizing an Automatic

Telephone Dialing System.

 

CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ 4 Of 8

6. REPORT OF PRECONFERENCE DISCOVERY AND
MEETING UNDER FED. R. CIV. P. 26(1)
w §§ … a. Date of Meeting: Bebin:ai;;~;_;Z;Qj;S lth ft we f j FZ““€;" "‘ 5
\V b. Participants: G. Thomas Martin, 111 for Plaintiff
David M. Krueger for Defendant

c. Rule 26(a)(1) Disclosures: March 15, 2018

d. Changes to Rule 26(a)(1) Disclosures: As needed during course of
discovery.

e. Agreements to Conduct Informal Discovery: The parties do not anticipate
any informal discovery of witnesses or otherwise at this time.

f. Agreements to Reduce Discovery and Costs: None at this time.

g. Electronic Discovery: The parties do not anticipate extensive electronically
stored information

h. Settlement Discussions: Plaintiff has conveyed an initial demand to
Defendant Defendant is considering its response, and the parties anticipate they will

continue settlement discussions.

7. CONSENT
All Parties have not consented to the exercise of jurisdiction of a

magistrate judge.

8. DISCOVERY LIMITATIONS

a. Modifications to Presumptive Limits on Depositions/Interrogatories: NP§_;§;

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CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ 5 018

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. . . . 5 ‘“f»» § ,~ ' 16 mmi . ,'3
b. Modiflcatlons to Length of Depositions: None ? ii b § ‘3 § °“"` hit trw `“"
c. Limitations on Number of Production or Admission Requests: 15 Requests

for Admissions; 25 Requests for Production of Documents far/a guam

d. Other 1ssues/Orders: None.

9. CASE PLAN AND SCHEDULE
a. Joinder of Parties/Amendments to Pleadings: April 16, 2018
b. Discovery Cut-Off: November 14, 2018 (fact); December 19 %<2018
(expert)
c. Dispositive Motion Deadline: Filing deadline of January 16, 2019
d. Expert Witness Disclosures: _
1. Fields of Potential Expert Testimony: Whether or not Defendant’s
and/or Defendant’s agent(s)’ telecom systems constitute an “Automatic
Telephone Dialing System.”
2. Limitations on Use/Number of Experts: No more than 2 retained
experts per side.
3. Rule 26(a)(2) Disclosures: Served by September 20, 2018
4. Rebuttal Expert Disclosures: Served by Detober 17, 2018
e. 1dentification of Persons to Be Deposed (estimated):
1. Plaintiff ~ 3-4 hours
2. Defendant’s 30(b)(6) Corporate Representative - 3-4 hours
3. Defendant’s person with most knowledge as to Defendant’s
telecom system, if different than 30(b)(6) ~ 3-4 hours
4. 30(b)(6) of potential third party vendors who placed calls to Plaintiff
on Defendant’s behalf, if any ~ 3-4 hours

CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ 6 Of 8

5. 3()(b)(6) of third party Who created/developed Defendant’s telecom
system, if necessary - 3-4 hours
6. 30(b)(6) of Plaintiff’s telephone provider ~ 3-4 hours.

f. Deadlines for Interrogatories: August lO, 2018

g. Deadlines for Requests for Production and/or Admissions: August l(), 2018

10. DATES FOR FURTHER CONFERENCES

a. Status conferences Will be held in this case at the following dates and times:

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b. A final pretrial conference gill be held in this case on gm fm M“ at

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t se o’clock rim/§ A Final Pretrial Order shall be prepared by the parties and

submitted to the court no later than seven (7) days before the final pretrial conference

11. OTHER SCHEDULING MATTERS

a. Other Disputes: Defendant believes this matter should be stayed pending the
outcome of A CA Int ’l v. FCC, No. lS-lle (D.C. Cir.). In ACA lnt’l, the Circuit Court
for the District of Columbia is reviewing the Federal Communication Commission’s
2015 decision, In re Rules and Regulations Implemenz‘ing the TCPA of ]99], 30
F.C.C.R. 796l (2015), regarding What constitutes an “automatic telephone dialing
system” under the TCPA, Which is a dispositive issue in this case. The parties have
met and conferred regarding Defendant’s position in this regard, and Plaintiff Will
oppose Defendant’s motion to stay. USAA SB proposes the dates in the Report as an

alternative to the Motion to Stay.

CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ 7 Of 8

b. Trial: Parties estimate Trial requiring approximately two (2) to three (3)
days. Plaintiff has requested Trial by Jury in her Complaint and Defendant has
requested Trial by Jury in its Answer.

c. Trial/Pre Trial Locations: None other than Denver.

12. NOTICE TO COUNSEL AND PRO SE PARTIES

The parties filing motions for extension of time or continuances must comply
with D.C.COLO.CivR 6.l(c) by submitting proof that a copy of the motion has been
served upon the moving attorney’s client, all attorneys ofrecord, and all pro se parties.

Counsel will be expected to be familiar and to comply with the Pretrial and
Trial Procedures or Practice Standards established by the judicial officer presiding
over the trial of this case.

With respect to discovery disputes, parties must comply with
D.C.COLO.LCivR 7.l(a).

Counsel and unrepresented parties are reminded that any change of contact
information must be reported and filed with the Court pursuant to the applicable local

rule.

13. AMENDMENTS TO SCHEDULING ORDER
This scheduling order may be altered or amended only upon a showing of good

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CaSe 1217-CV-02963-WJ|\/|-|\/|.]W DOCUment 17 Filed 03/12/18 USDC CO|OI’adO Pag€ 8 Of 8

`“‘§"‘L$
Date: iv k at Denver, Colorado, this§__ §‘2” da ay of March 20l8

BY THE COURT:

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WCHAEI-. J. WATANABE
U.S. MAGISTRATE JUDGE

 

DISTRICT OF COLORADO
APPROVED:
By: /s/G. Thomas Martin, III By: /s/David M. Krueger
G. Thomas Martin, III David M. Krueger
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